                                     Supplemental Complaint

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                                    Bates Stamped Documents

         Documents appear in this order, with Bates-Numbered Slip-Sheets Between them. The
              documents are cited by Bates Number in the Supplemental Complaint.

Document Order Bates Range                    Document Title / Identifier



   61.         DOE00011396-DOE00011403        Lacy Cosmetology School Memo

   62.         DOE00011421                    Lawton School Memo

   63.         DOE00011426-DOE00011429        Lawton School Memo

   64.         DOE00011569-DOE00011570        Masters of Cosmetology Memo

   65.         DOE00011572-DOE00011574        Mattia College Memo

   66.         DOE00011608-DOE00011609        Meridian University Memo

   67.         DOE00011644-DOE00011647        Micropower Career Institute Memo

   68.         DOE00011707-DOE00011711        Missouri Technical School Memo

   69.         DOE00011746-DOE00011752        Morris Brown College Memo

   70.         DOE00011761-DOE00011765        Mountain State Univ. Memo

   71.         DOE00011953-DOE00011956        Ohio Media School Memo

   72.         DOE00012087-DOE00012088        Pinnacle Career Institute Memo

   73.         DOE00012245-DOE00012248        Remington College Memo

   74.         DOE00012388-DOE00012389        San Diego College Memo

   75.         DOE00012560-DOE00012561        Southwest Memo

   76.         DOE00012629-DOE00012633        Stenotype Institute of Jacksonville Memo
77.   DOE00012658                Strayer Memo

78.   DOE00012664-DOE00012668    Strayer Memo

79.   DOE00012673-DOE000012675 Suburban Technical School Memo

80.   DOE00012822-DOE00012824    Touro College memo
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